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                        IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE NORTHERN DISTRICT OF TEXAS
                                    DALLAS DIVISION

                                                                        )
In re:                                                                  )
                                                                        )   Chapter 11
                                                           1
HIGHLAND CAPITAL MANAGEMENT, L.P.,                                      )
                                                                        )   Case No. 19-34054 (SGJ)
                              Debtor.                                   )
                                                                        )
                                                                        )
OFFICIAL   COMMITTEE                       OF       UNSECURED           )
CREDITORS,                                                              )
                                                                        )
                              Plaintiff,                                )
vs.                                                                     )
                                                                        )
CLO HOLDCO, LTD., CHARITABLE DAF HOLDCO,                                )   Adv. Pro. No. 20-03195 (SGJ)
LTD., CHARITABLE DAF FUND, LP, HIGHLAND                                 )
DALLAS FOUNDATION, INC., THE DUGABOY                                    )
INVESTMENT TRUST, GRANT SCOTT III IN HIS                                )
INDIVIDUAL CAPACITY, AS TRUSTEE OF THE                                  )
DUGABOY INVESTMENT TRUST, AND AS                                        )
TRUSTEE OF THE GET GOOD NONEXEMPT                                       )
TRUST, AND JAMES D. DONDERO,                                            )
                                                                        )
                             Defendants.                                )
                                                                        )

                                      CERTIFICATE OF SERVICE

      I, Vincent Trang, depose and say that I am employed by Kurtzman Carson Consultants
LLC (“KCC”), the claims and noticing agent for the Debtor in the above-captioned case.

        On August 16, 2021, at my direction and under my supervision, employees of KCC
caused the following document to be served via Electronic Mail upon the service list attached
hereto as Exhibit A; and via First Class Mail upon the service list attached hereto as Exhibit B:


                                           (Continued on Next Page)



1
  The Debtor’s last four digits of its taxpayer identification number are (6725). The headquarters and service
address for the above-captioned Debtor is 300 Crescent Court, Suite 700, Dallas, TX 75201.
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   •   The Litigation Trustee’s Witness and Exhibit List for August 19, 2021 Hearing
       [Docket No. 75]


Dated: August 18, 2021
                                           /s/ Vincent Trang
                                           Vincent Trang
                                           KCC
                                           222 N Pacific Coast Highway, Suite 300
                                           El Segundo, CA 90245
                                           Tel 310.823.9000




                                           2
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                             EXHIBIT A
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                                                                           Exhibit A
                                                                     Adversary Service List
                                                                    Served via Electronic Mail



                Description                             CreditorName                       CreditorNoticeName                               Email
                                                                                                                           john@bondsellis.com;
                                                                                                                           john.wilson@bondsellis.com;
                                                                                   John Y. Bonds, III, John T. Wilson, IV, bryan.assink@bondsellis.com;
                                             Bonds Ellis Eppich Schafer Jones      Bryan C. Assink, Clay M. Taylor,        clay.taylor@bondsellis.com;
Counsel for James Dondero                    LLP                                   William R. Howell, Jr.                  william.howell@bondsellis.com
Financial Advisor to Official Committee of                                                                                 Earnestiena.Cheng@fticonsulting.com;
Unsecured Creditors                          FTI Consulting                        Earnestiena Cheng, Daniel H O'Brien Daniel.H.O'Brien@fticonsulting.com
                                                                                   Melissa S. Hayward, Zachery Z.          MHayward@HaywardFirm.com;
Counsel for the Debtor                       Hayward & Associates PLLC             Annable                                 ZAnnable@HaywardFirm.com
                                                                                                                           ddraper@hellerdraper.com;
Counsel for the Dugaboy Investment Trust                                           Douglas S. Draper, Leslie A. Collins, lcollins@hellerdraper.com;
and Get Good Trust                           Heller, Draper & Horn, L.L.C.         Greta M. Brouphy                        gbrouphy@hellerdraper.com
Counsel for CLO Holdco, Ltd. and Grant                                                                                     jcoleman@krcl.com;
Scott                                        Kane Russell Coleman Logan PC         Joseph M. Coleman, John J. Kane         jkane@krcl.com
                                                                                                                           hugh.connor@kellyhart.com;
Counsel for CLO Holdco, Ltd. and Highland                                          Hugh G. Connor II, Michael D.           michael.anderson@kellyhart.com;
Dallas Foundation, Inc.                      Kelly Hart & Hallman                  Anderson, Katherine T. Hopkins          katherine.hopkins@kellyhart.com
Counsel for CLO Holdco, Ltd. and Highland
Dallas Foundation, Inc.                      Kelly Hart & Pitre                    Amelia L. Hurt                        amelia.hurt@kellyhart.com
Counsel for CLO Holdco, Ltd. and Highland
Dallas Foundation, Inc.                      Kelly Hart & Pitre                    Louis M. Phillips                     louis.phillips@kellyhart.com
Counsel for UBS Securities LLC and UBS                                                                                   andrew.clubok@lw.com;
AG London Branch                             Latham & Watkins LLP                  Andrew Clubok, Sarah Tomkowiak        sarah.tomkowiak@lw.com
Counsel for UBS Securities LLC and UBS                                                                                   asif.attarwala@lw.com;
AG London Branch                             Latham & Watkins LLP                  Asif Attarwala, Kathryn K. George     Kathryn.George@lw.com
Counsel for UBS Securities LLC and UBS                                                                                   jeff.bjork@lw.com;
AG London Branch                             Latham & Watkins LLP                  Jeffrey E. Bjork, Kimberly A. Posin   kim.posin@lw.com
Counsel for UBS Securities LLC and UBS                                                                                   Zachary.Proulx@lw.com;
AG London Branch                             Latham & Watkins LLP                  Zachary F. Proulx, Jamie Wine         Jamie.Wine@lw.com
Counsel for CLO Holdco, Ltd. / Trustee for
the Dugaboy Investment Trust and Get
Good Nonexempt Trust / Charitable DAF
Fund, L.P. / Grant James Scott III in His
Individual Capacity                          Myers Bigel P.A.                      Grant Scott, Director                 gscott@myersbigel.com
Counsel for CLO Holdco, Ltd. and                                                                                         MAS@SbaitiLaw.com;
Charitable DAF Fund, L.P.                    Sbaiti & Company PLLC                 Mazin A Sbaiti, Jonathan Bridges      jeb@sbaitilaw.com
                                                                                                                         mclemente@sidley.com;
                                                                                   Matthew Clemente, Alyssa Russell,     alyssa.russell@sidley.com;
Counsel for Official Committee of                                                  Elliot A. Bromagen, Dennis M.         ebromagen@sidley.com;
Unsecured Creditors                          Sidley Austin LLP                     Twomey                                dtwomey@sidley.com
                                                                                                                         preid@sidley.com;
                                                                                   Penny P. Reid, Paige Holden           pmontgomery@sidley.com;
Counsel for Official Committee of                                                  Montgomery, Juliana Hoffman,          jhoffman@sidley.com;
Unsecured Creditors                          Sidley Austin LLP                     Chandler M. Rognes                    crognes@sidley.com




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                             EXHIBIT B
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                                                                                                         Exhibit B
                                                                                                   Adversary Service List
                                                                                                 Served via First Class Mail



              Description                               CreditorName                    CreditorNoticeName                        Address1                Address2      Address3       City     State      Zip
                                                                                John Y. Bonds, III, John T. Wilson,
                                             Bonds Ellis Eppich Schafer Jones   IV, Bryan C. Assink, Clay M. Taylor,    420 Throckmorton Street,
Counsel for James Dondero                    LLP                                William R. Howell, Jr.                  Suite 1000                                                 Fort Worth   TX      76102
Counsel for the Dugaboy Investment Trust                                        Douglas S. Draper, Leslie A. Collins,   650 Poydras Street, Suite
and Get Good Trust                           Heller, Draper & Horn, L.L.C.      Greta M. Brouphy                        2500                                                       New Orleans LA       70130
Counsel for CLO Holdco, Ltd. and Grant
Scott                                        Kane Russell Coleman Logan PC      Joseph M. Coleman, John J. Kane         901 Main Street, Suite 5200                                Dallas       TX      75242-1699
Counsel for CLO Holdco, Ltd. and                                                Hugh G. Connor II, Michael D.
Highland Dallas Foundation, Inc.             Kelly Hart & Hallman               Anderson, Katherine T. Hopkins          201 Main Street, Suite 2500                                Fort Worth   TX      76102
Counsel for CLO Holdco, Ltd. and                                                                                        400 Poydras Street, Suite
Highland Dallas Foundation, Inc.             Kelly Hart & Pitre                 Amelia L. Hurt                          1812                                                       New Orleans LA       70130
Counsel for CLO Holdco, Ltd. and
Highland Dallas Foundation, Inc.             Kelly Hart & Pitre                 Louis M. Phillips                       301 Main Street, Suite 1600                                Baton Rouge LA       70801
Counsel for UBS Securities LLC and UBS                                                                                  555 Eleventh Street, NW,
AG London Branch                             Latham & Watkins LLP               Andrew Clubok, Sarah Tomkowiak          Suite 1000                                                 Washington   DC      20004
Counsel for UBS Securities LLC and UBS                                                                                  330 North Wabash Avenue,
AG London Branch                             Latham & Watkins LLP               Asif Attarwala, Kathryn K. George       Ste. 2800                                                  Chicago      IL      60611
Counsel for UBS Securities LLC and UBS
AG London Branch                             Latham & Watkins LLP               Jeffrey E. Bjork, Kimberly A. Posin     355 S. Grand Ave., Ste. 100                                Los Angeles CA       90071
Counsel for UBS Securities LLC and UBS
AG London Branch                             Latham & Watkins LLP               Zachary F. Proulx, Jamie Wine           1271 Avenue of the Americas                                New York     NY      10020
Counsel for CLO Holdco, Ltd. / Trustee for
the Dugaboy Investment Trust and Get
Good Nonexempt Trust / Charitable DAF
Fund, L.P. / Grant James Scott III in His
Individual Capacity                          Myers Bigel P.A.                   Grant Scott, Director                   4140 Park Lake Ave, Ste 600                                Raleigh      NC      27612
Counsel for CLO Holdco, Ltd. and
Charitable DAF Fund, L.P.                    Sbaiti & Company PLLC              Mazin A Sbaiti, Jonathan Bridges        J.P. Morgan Chase Tower       2200 Ross Avenue Suite 4900W Dallas       TX      75201




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